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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------X
MONDAIRE JONES, et al.,              :
                                     :
                    Plaintiffs,      :   20 Civ. 6516 (VM)
                                     :
     - against -                     :   ORDER
                                     :
UNITED STATES POSTAL SERVICE, et al.,:
                                     :
                                     :
                    Defendants.      :
-------------------------------------X
VICTOR MARRERO, United States District Judge.

    The parties are directed to confer and advise the Court

as to whether further litigation, requests for relief, or

submission of status and compliance reports are contemplated

in this matter.

SO ORDERED.

Dated:    New York, New York
          17 November 2020
                                     ___________________________
                                            Victor Marrero
                                              U.S.D.J.




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